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 3                             UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
 5
     KEISHAWN CRANFORD,
 6                                                        Case No.: 2:17-cv-02643-APG-NJK
            Plaintiff(s),
 7                                                                      ORDER
     v.
 8
     STATE OF NEVADA, et al.,
 9
            Defendant(s).
10
11         A settlement conference is currently set on October 9, 2020. See Docket No. 42. The
12 parties were ordered to submit settlement conference statements by September 25, 2020. See id.
13 Plaintiff has not submitted a settlement conference statement. On September 14, 2020, Plaintiff
14 filed a notice of change of address. Docket No. 44. The Court is therefore not confident that
15 Plaintiff received its order continuing the settlement conference date and requiring submission of
16 a settlement conference statement.
17         As a result, the settlement conference is CONTINUED to 9:30 a.m. on November 19,
18 2020. No later than November 5, 2020, Plaintiff must submit a settlement conference statement
19 by mail or as instructed in the Court’s order at Docket No. 39.          The Clerk of Court is
20 INSTRUCTED to send this order and a copy of the Court’s order at Docket No. 39 to Plaintiff’s
21 physical address, as well as the email address provided on the docket.
22         In light of Plaintiff being in prison, the Attorney General’s Office is INSTRUCTED to
23 coordinate with the undersigned’s courtroom deputy, Ari Caytuero at 702-464-5566, to facilitate
24 Plaintiff’s video conference appearance at the settlement conference.
25         IT IS SO ORDERED.
26         Dated: October 2, 2020
27                                                             ______________________________
                                                               Nancy J. Koppe
28                                                             United States Magistrate Judge

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